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11
                           UNITED STATES DISTRICT COURT,
12
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
13

14    JOSEPH F. INIGUEZ,                Case No.: 2:22-cv-00106-MCS-GJS
15
                   Plaintiff,    v.     PLAINTIFF’S NOTICE RE STATUS OF
16                                      DEPARTMENT OF JUSTICE
      R. MARTINEZ, etc. et al,          INVESTIGATION
17

18               Defendants.
19
      _____________________/
20
      TO THE CLERK OF COURT, PARTIES AND THEIR COUNSEL:

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            THIS IS NOTICE that Counsel for Plaintiff Joseph F. Iniguez has been

22
      informed that the Department of Justice investigation related to the instant civil

23
      case has concluded, with the governing statutes of limitations having expired.

24
            This Notice is intended to be in compliance with the Court’s November 23,
      2022 Order (Doc. 20).
25
                                        Respectfully submitted,
26
      Dated: January 10, 2023           /s/ Michael H. Artan
27
                                        Michael H. Artan
28                                      Counsel for Plaintiff, Joseph F. Iniguez

                         PLAINTIFF’S NOTICE RE STATUS OF DOJ INVESTIGATION - 1
